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                           UNITED STATES DISTRICT COURT
    19
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    20
    21 LA ALLIANCE FOR HUMAN                          CASE NO. 2:20-cv-02291 DOC-KES
    22 RIGHTS, et al.,
                                                      NOTICE TO THE COURT OF
    23                   Plaintiffs,                  DEFENDANT COUNTY OF
                                                      LOS ANGELES’ EMERGENCY
    24              v.                                DECLARATION DATED
                                                      DECEMBER 6, 2016
    25 CITY OF LOS ANGELES, et al.,
    26                                                Assigned to the Hon. David O. Carter
                 Defendants.                          and Magistrate Judge Karen E. Scott
    27
    28
         509202.1
                                                 1                 Case No. 2:20-cv-02291 DOC-KES
           NOTICE TO THE COURT OF DEFENDANT COUNTY OF LOS ANGELES' EMERGENCY DECLARATION
                                        DATED DECEMBER 6, 2016
Case 2:20-cv-02291-DOC-KES Document 292 Filed 04/26/21 Page 2 of 16 Page ID #:7886




     1 TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     2              On April 20, 2021, the Court issued an injunction. [Dkt. 277.] Among other
     3 things, the Court ordered the County of Los Angeles (“County”) to have the Chair
     4 of the County Board of Supervisors “explain why an emergency declaration has not
     5 been issued.” [Id. at 107.]
     6              The County has appealed and requested a stay pending appeal. [Dkt. 278,
     7 282.] Without prejudice to the appeal and stay request, the County responds to the
     8 Court’s question, as follows:
     9              In fact, the County did declare “a homeless emergency in the County of
    10 Los Angeles” on December 6, 2016. The declaration is attached hereto as
    11 Exhibit A.
    12
    13 DATED: April 26, 2021                    MILLER BARONDESS, LLP
    14
    15
                                                By:
    16
                                                       LOUIS R. MILLER
    17                                                 Attorneys for Defendant
    18                                                 COUNTY OF LOS ANGELES

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                                                 2                 Case No. 2:20-cv-02291 DOC-KES
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      EXHIBIT A



                                                                            Exhibit A
                                                                              Page 3
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                                                                             AGN. NO.

MOTION BY SUPERVISORS MARK RIDLEY-THOMAS AND                      DECEMBER 6, 2016
KATHRYN BARGER

Declaring a Homeless Emergency in the County of Los Angeles
      The County of Los Angeles (County) is facing a grave public emergency, the
pervasive and deepening homeless crisis, which currently endangers the health and
safety of tens of thousands of residents, including veterans, women, children, LGBTQ
youth, persons with disabilities and seniors. The tremendous scale of homelessness in
the County threatens the economic stability of the region by burdening emergency
medical services and the social services infrastructure.
      This past winter, both the County and the City of Los Angeles declared local
states of emergency as it relates to the lack of shelter for homeless persons within the
County and the City.
      Further, the Board of Supervisors (Board) has unanimously voted to seek a
statewide declaration of emergency for the State's homeless crisis.       The County’s
petition to convince the Governor to declare a state of emergency on homelessness has
garnered over 27,000 signatures. The State Assembly overwhelmingly passed a
resolution urging the Governor to declare a state of emergency for homelessness. The
City and County of San Francisco, the City of Los Angeles, and the City of Santa Rosa
have also passed similar resolutions urging the Governor to declare a state of

                                        - MORE -

                                                                MOTION

                                  SOLIS              ___________________________

                                  KUEHL              ___________________________

                                  HAHN               ___________________________

                                  BARGER             ___________________________

                                  RIDLEY-THOMAS___________________________




                                                                                           Exhibit A
                                                                                             Page 4
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  MOTION BY SUPERVISORS MARK RIDLEY-THOMAS AND KATHRYN BARGER
  DECEMBER 6, 2016
  PAGE 2


  emergency for homelessness. Thirty-two members of Congress have signed a joint
  letter urging the Governor to augment annual funding to address the homeless crisis
  and Congress members Hahn, Napolitano, Sanchez, and Lowenthal have all also urged
  the Governor to declare a state of emergency for homelessness. The Governor has
  refused, however, to declare such an emergency, or to augment annual funding, and
  therefore, local governments, like this Board, must take immediate action to address the
  homeless crisis in their own jurisdictions.
         To address this urgent homeless crisis, the State Constitution and California
  Revenue Taxation Code authorizes the Board to place a special sales tax on the ballot
  during an odd-year election cycle.
         WE THEREFORE MOVE THAT THE BOARD OF SUPERVISORS, adopt the
  attached resolution declaring an emergency due to the homeless crisis.

                                            ####



  YV/DW




                                                                                         Exhibit A
                                                                                           Page 5
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                                                                            Exhibit A
                                                                              Page 6
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                                                                            Exhibit A
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                                                                            Exhibit A
                                                                              Page 8
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                                                                            Exhibit A
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                                 #:7894




                                                                         Exhibit A
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                                                                         Exhibit A
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                                 #:7896




                                                                         Exhibit A
                                                                          Page 12
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  1                                 CERTIFICATE OF SERVICE
  2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  3        At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of Los Angeles, State of California. My
  4 business address is 1999 Avenue of the Stars, Suite 1000, Los Angeles, CA 90067.
  5         On April 26, 2021, I served true copies of the following document(s)
      described as:
  6
    NOTICE TO THE COURT OF DEFENDANT COUNTY OF LOS ANGELES'
  7 EMERGENCY DECLARATION DATED DECEMBER 6, 2016
  8 on the interested parties in this action as follows:
  9                              SEE ATTACHED SERVICE LIST
 10        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
    the document(s) with the Clerk of the Court by using the CM/ECF system.
 11 Participants in the case who are registered CM/ECF users will be served by the
    CM/ECF system. Participants in the case who are not registered CM/ECF users will
 12 be served by mail or by other means permitted by the court rules.
 13       I declare under penalty of perjury under the laws of the United States of
    America that the foregoing is true and correct and that I am employed in the office
 14 of a member of the bar of this Court at whose direction the service was made.
 15              Executed on April 26, 2021, at Los Angeles, California.
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 19                                                 Alexandria Alamango
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                                              13                Case No. 2:20-cv-02291 DOC-KES
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  1                                    SERVICE LIST
                 LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.
  2
                                    Case No. 2:20-cv-02291
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